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     Attorneys for Plaintiff,
11   KENMARK VENTURES, LLC
12                               UNITED STATES BANKRUPTCY COURT
13                                          DISTRICT OF NEVADA
14
                                                           Case No. BK-N-14-50333-BTB
15   In re:
                                                           Case No. BK-N-14-50332-BTB
16   ANTHONY THOMAS and WENDI                              Chapter 11
     THOMAS,
17                                                         [Jointly Administered]
     AT EMERALD, LLC,
18
                    Debtors.                               LIMITED OBJECTION TO MOTION
19                                                         TO SELL ASSETS FREE AND CLEAR
                                                           OF LIENS
20
21                                                         Hearing Date: July 1, 2014
                                                           Hearing Time: 2:30 p.m.
22
              KENMARK VENTURES, LLC (“Kenmark”), through its counsel Wayne A. Silver and Amy
23
     N. Tirre, hereby objects to the motion of ANTHONY THOMAS and WENDI THOMAS
24
     (“Debtors”) to sell assets free and clear of liens.
25
              1.    Kenmark is a California Limited Liability Company doing business in Santa Clara
26
     County, California.
27
              2.    Kenmark filed a Proof of Claim (Claim No. 7) in the Debtors’ above-captioned
28

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 1   Chapter 11 case on June 12, 2014 in the amount of $4.5m. The Court is requested to take judicial
 2   notice of the Proof of Claim.
 3          3.      Kenmark also filed an adversary proceeding against the Debtors on May 31, 2014,
 4   Adv.Pro.No. 14-5022, seeking a judgment in the mount of $4.5m plus interest and attorneys’ fees,
 5   and a declaration that such judgment is non-dischargeable under 11 U.S.C.§523(a)(2). The Court is
 6   requested to take judicial notice of the Adversary Complaint, attached hereto. The Adversary
 7   Complaint alleges Anthony Thomas made several false representations to Kenmark’s principals to
 8   induce Kenmark to loan him and a related entity in excess of $6.0m The Adversary Complaint has
 9   been served on the Debtors and return of summons has been filed.
10          4.      Kenmark is informed and believes the Debtors dispute the Proof of Claim however,
11   are not aware of the grounds of the dispute. No objection to the Proof of Claim has been filed.
12          5.      Kenmark does not object to the proposed sale per se, however does object to the
13   Debtors’ unfettered retention and control of the sales proceeds in light of the serious allegations of
14   fraud against them.
15          6.      Kenmark therefore requests the Court order $5.0m of the sales proceeds be
16   segregated, delivered to and held in the undersigned attorney’s trust account, on the condition that no
17   portion of such funds may be disbursed without further order of this Court upon either consent of, or
18   notice and opportunity to be heard given to, Debtors’ attorneys of record.
19          Dated: June 27, 2014                           Respectfully submitted,
20
                                                           /s/ Wayne A. Silver
21                                                         Wayne A. Silver, attorney for
                                                           KENMARK VENTURES, LLC
22
23
24
25
26
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28

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     Attorneys for Plaintiff,
11   KENMARK VENTURES, LLC
12                               UNITED STATES BANKRUPTCY COURT
13                                      DISTRICT OF NEVADA
14
                                                    Case No. BK-N-14-50333-BTB
15   In re:
                                                    Case No. BK-N-14-50332-BTB
16   ANTHONY THOMAS and WENDI                       Chapter 11
     THOMAS,
17                                                  [Jointly Administered]
     AT EMERALD, LLC,
18
                    Debtors.
19
     KENMARK VENTURES, LLC                          Adv. Pro. No. _____________
20
                    Plaintiff,
21                                                  COMPLAINT FOR DAMAGES AND TO
         v.
                                                    DETERMINE DISCHARGEABILITY OF
22                                                  DEBT
     ANTHONY THOMAS and WENDI
23   THOMAS,
                                                    [11 U.S.C. §523(A)(2)]
24                  Defendants.
25            Plaintiff KENMARK VENTURES, LLC (“Plaintiff”), through its counsel Wayne A. Silver
26   and Amy N. Tirre, hereby complains and alleges against ANTHONY THOMAS and WENDI
27   THOMAS (“Defendants”) the following:
28                               I.   JURISDICTIONAL ALLEGATIONS
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 1          1.      This is an adversary proceeding within the meaning of Federal Rule of Bankruptcy
 2   Procedure 7001.
 3          2.      This adversary proceeding arises out of and is related to Defendants’ above-
 4   captioned Chapter 11 bankruptcy case No. BK-N-14-50333-BTB (“Bankruptcy Case”), pending
 5   before the United States Bankruptcy Court for the District of Nevada (“Bankruptcy Court”). The
 6   Bankruptcy Court has jurisdiction in the instant adversary proceeding pursuant to 28 U.S.C. §§157
 7   and 1334, and Rule 1001(b)(2) of the Local Rules of Bankruptcy Practice for the United States
 8   Bankruptcy Court for the District of Nevada.
 9          3.      The claims for relief set forth herein are proceedings to determine the dischargeability
10   of particular debts and, as such, are core proceedings pursuant to 28 U.S.C. §157(b)(2)(I). If these
11   claims are determined to be “noncore” however, Plaintiff consents to entry of final orders and
12   judgment by the Bankruptcy Court.
13          4.      Venue is proper pursuant to 28 U.S.C. §1409.
14          5.      Defendants filed their chapter 11 voluntary bankruptcy petition on March 4, 2014 in
15   the Bankruptcy Court, thereby initiating the Bankruptcy Case.
16                                             II.     PARTIES
17          6.      Plaintiff is a California Limited Liability Company doing business in Santa Clara
18   County, California.
19          7.      Plaintiff is informed and believes Defendants are married adult individuals and the
20   Debtors in the above-referenced Bankruptcy Case. Defendant WENDI THOMAS is sued solely to
21   the extent of her community property interests and to the extent Plaintiff is determined to be the
22   holder of a “community claim” as defined by 11 U.S.C. §101(7), et seq.
23          8.      The last address for the Defendants, as listed in the mailing matrix on their original
24   bankruptcy petition is: 7725 Peavine Peak Court, Reno, Nevada 89523.
25          9.      ELECTRONIC PLASTICS, LLC (“EPL”), a Delaware limited liability company with
26   its principal place of business in Solano Beach, California. EPC, although not a named defendant, is
27   a material actor in the events and transactions described below. Plaintiff is informed and believes
28   that there is a unity of interest and ownership between ANTHONY THOMAS and EPL, such that

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 1   the separate personalities of ANTHONY THOMAS and EPL no longer exist, and that if the acts are
 2   treated as those of EPL alone, it would sanction a fraud or promote injustice to uphold the EPL
 3   corporate entity and allow ANTHONY THOMAS to escape personal liability for the debt.
 4             10.    On information and belief, ANTHONY THOMAS is personally liable for directly
 5   authorizing and/or actively participating in and/or controlling the wrongful or tortious conduct
 6   described below, notwithstanding the fact that ANTHONY THOMAS was purporting to act on
 7   behalf of EPL.
 8             11.    ANTHONY THOMAS is therefore fully responsible for any obligation owed to
 9   Plaintiff by EPL. Plaintiff expressly reserves the right to name EPL as a defendant in this Adversary
10   Proceeding to the extent necessary to enforce Plaintiff’s rights and remedies against Defendants.
11                                    III.   GENERAL ALLEGATIONS
12             12.    In early 2007, in San Jose, California, Defendant ANTHONY THOMAS purportedly
13   acting on behalf of and in concert with EPL, approached Plaintiff seeking to borrow funds, allegedly
14   to pay for the development and marketing of a proprietary biometric smartcard technology for
15   authenticating identification for electronic transactions and other applications (hereinafter
16   "Smartcard Technology"). ANTHONY THOMAS represented to Plaintiff that EPL was at the stage
17   of marketing the Smartcard Technology for commercial use and manufacturing, that there was
18   significant interest in various industry sectors in purchasing security products containing the
19   Smartcard Technology and EPL was forecasting that they would be selling 30 million smartcards in
20   the next 24 to 30 months.
21             13.    Plaintiff was not interested in making an equity investment in EPL for the
22   development and marketing of Smartcard Technology or otherwise; however, on the basis of
23   ANTHONY THOMAS ' representations and the written business plan provided by ANTHONY
24   THOMAS and EPL, Plaintiff was willing to lend money to ANTHONY THOMAS and EPL, to be
25   used for the sole and specific purpose of developing and marketing the Smartcard Technology,
26   provided that ANTHONY THOMAS and EPL were able to provide adequate security for any sums
27   loaned.
28             14.    In response to Plaintiff’s requirement for adequate security for the loan sought by

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 1   ANTHONY THOMAS and EPL, ANTHONY THOMAS represented to Kenneth Tersini, as an
 2   agent of Plaintiff and to other members of Plaintiff and their agents and representatives, that he
 3   owned a raw emerald weighing over 21,000 carats and appraised as having a value of over Five
 4   Hundred Million Dollars ($500,000,000.00) (hereinafter the "Emerald") and that ANTHONY
 5   THOMAS was willing to provide the Emerald as security for Plaintiff's loan.
 6          15.     Based on these representations and written materials material provided by
 7   ANTHONY THOMAS and EPL, Plaintiff agreed to loan ANTHONY THOMAS and EPL up to Six
 8   Million One Hundred Ten Thousand Dollars ($6,110,000.00) through a series of fundings, for the
 9   specific purpose of developing and marketing the Smartcard Technology.
10          16.     Pursuant to the terms of the initial oral agreement, commencing in June of 2007 and
11   ending in May 2008, through a series of fundings, Plaintiff loaned a total of Six Million One
12   Hundred Ten Thousand Dollars ($6,110,000.00) to ANTHONY THOMAS and EPL
13          17.     In or about June 2007, ANTHONY THOMAS delivered possession of the Emerald to
14   Plaintiff by depositing the Emerald in a security deposit box at Wells Fargo Bank in Reno, Nevada
15   and delivering to Plaintiff's agent the key to said security deposit box, all for the purpose of allowing
16   Plaintiff to perfect its security interest in the Emerald by possession. Out of an abundance of caution,
17   Plaintiff also perfected its security interest in the Emerald by filing a UCC-l with the State of
18   Nevada, where the Emerald was then located.
19          18.     On or about October 25, 2007, ANTHONY THOMAS and EPL executed and
20   delivered a secured Promissory Note in the then current principal amount of Three Million Dollars
21   ($3,000,000.00), and to include and be increased by any and all additional future advances (the
22   ''Note''). The Note was secured by a Security Agreement designating the Emerald as collateral for
23   performance of the Note ("Security Agreement"). True and correct copies of the Note and Security
24   Agreement are attached hereto as Exhibit "A" and "B," respectively. Subsequent to the execution of
25   Exhibit "A," Plaintiff loaned an additional Three Million One Hundred Ten Thousand Dollars
26   ($3,110,000.00) to ANTHONY THOMAS and EPL, increasing the total amount owed under the
27   Note to Six Million One Hundred Ten Thousand Dollars ($6,110,000.00).
28          19.     In or about of May 2008, ANTHONY THOMAS requested that Plaintiff allow the

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 1   Emerald to be removed from the security bank box in Reno, Nevada and transported to a vault in
 2   Sarasota, Florida, to be shown to a potential buyer or buyers, allegedly interested in purchasing the
 3   Emerald. ANTHONY THOMAS also represented that upon any sale of the Emerald, and directly
 4   from the proceeds of the sale of the Emerald, they would immediately repay Plaintiff the outstanding
 5   balance of the Note. Based on such representations, Plaintiff authorized ANTHONY THOMAS to
 6   transport the Emerald to Florida to be deposited in a vault in Sarasota, Florida for the sole purpose of
 7   allowing the potential buyer(s) to examine the Emerald and effectuate the sale of the Emerald to
 8   such potential buyer(s). However, once the Emerald was in Sarasota, Florida, ANTHONY
 9   THOMAS refused Plaintiff access to the Emerald and made various excuses about alleged delays in
10   selling the Emerald. Plaintiff was later informed by ANTHONY THOMAS that the potential buyer
11   had a funding problem and could not proceed with the purchase.
12          20.     On or about October 31, 2008, Plaintiff made a written demand to ANTHONY
13   THOMAS and EPL to pay the Six Million One Hundred Ten Thousand Dollars ($6,110,000.00)
14   owed under the Note and return the possession of Emerald to Plaintiff to be held as security or
15   otherwise disposed of pursuant to the terms of the Security Agreement. A copy of Plaintiff’s demand
16   letter is attached as Exhibit “C”. In response to Plaintiff's demand, on or about November 6, 2008,
17   Plaintiff received a letter from Defendants, through their attorney, advising that ANTHONY
18   THOMAS and EPL refused to pay any amount owed under the Note or deliver possession of the
19   Emerald.
20          21.     Plaintiff therefore brought a Replevin action in the Circuit Court for the Twelfth
21   Judicial Circuit in Sarasota County, Florida, Case No. 2008-CA-20557-NC to recover possession of
22   the Emerald pursuant to the terms of the Security Agreement (the “Florida Replevin Action”). As the
23   result of such action, the Emerald was held in Florida by Sarasota Vault, under the order of the
24   Florida Circuit Court, which prohibited the Defendants in the Florida Replevin Action from gaining
25   access to the Emerald, pending further order of the Florida Circuit Court.
26          22.     Plaintiff also brought a civil action against ANTHONY THOMAS, EPL and others in
27   the Santa Clara Superior Court, Case No. 108CV130677 (the “Santa Clara Lawsuit”). The Santa
28   Clara Lawsuit was settled during trial, and called for ANTHONY THOMAS, EPL and the other

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 1   named defendants in the Santa Clara Lawsuit to pay Five Million Dollars ($5,000,000.00) to the
 2   Plaintiff in a series of annual installment payments commencing on January 1, 2013 and ending on
 3   January 1, 2017. The Florida Replevin Action was dismissed as a condition of the settlement in the
 4   Santa Clara Lawsuit, as was a cross-complaint filed by ANTHONY THOMAS and jointly
 5   administered debtor A.T. EMERALD, LLC against Plaintiff. Although the settlement was not
 6   reduced to written agreement, it was placed on the record in the Santa Clara Lawsuit. A copy of the
 7   Transcript from that October 5, 2011 hearing in the Santa Clara Action is attached as Exhibit “D”.
 8                                      FIRST CLAIM FOR RELIEF
 9                         Money Damages for Breach of Settlement Agreement
10          23.     Plaintiff realleges and incorporates herein by this reference each of the allegations
11   contained in paragraphs 1 – 22 above as though fully set forth hereagain in full.
12          24.     ANTHONY THOMAS made a $500,000.00 payment under the terms of the
13   settlement agreement in the Santa Clara Lawsuit, however failed to make the payment due on
14   January 1, 2014, or any subsequent payments.
15          25.     On or about January 9, 2014, ANTHONY THOMAS and Plaintiff agreed to a
16   Stipulation for Judgment in the Santa Clara Lawsuit (“Stipulation”), a copy of which is attached as
17   Exhibit “E”. ANTHONY THOMAS further agreed to pay Plaintiff $575,000.00 toward the
18   settlement agreement in the Santa Clara Lawsuit in exchange for an extension of the payment date to
19   January 31, 2014, and Plaintiff’s agreement not to file the Stipulation before that date.
20          26.     ANTHONY THOMAS failed to pay the agreed $575,000.00 toward the settlement
21   agreement in the Santa Clara Lawsuit on or before January 31, 2014, and Plaintiff therefore gave the
22   required notice to ANTHONY THOMAS of its intent to seek entry of judgment on the Stipulation.
23   Plaintiff was prevented from obtaining a judgment against ANTHONY THOMAS by the filing of
24   the Bankruptcy Case on March 4, 2014.
25          27.     As a result, there is due and owing and unpaid from ANTHONY THOMAS to
26   Plaintiff the sum of Four Million Five Hundred Thousand Dollars ($4,500,000.00), together with
27   interest thereon at the rate often percent (10%) per annum, plus attorneys’ fees as allowed under the
28   Note in an amount to be proven at trial (“Plaintiff’s Claim”).

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 1          WHEREFORE, Plaintiff prays for judgment against Defendants, and each of them, as set
 2   forth below.
 3                                    SECOND CLAIM FOR RELIEF
 4                    Nondischargeability – Fraud (Intentional Misrepresentation)
 5                                          [11 U.S.C. §523(a)(2)]
 6          28.     Plaintiff realleges and incorporates herein by this reference each of the allegations
 7   contained in paragraphs 1 – 27 above as though fully set forth hereagain in full.
 8          29.     On or about May 1, 2007, in San Jose, California, ANTHONY THOMAS orally
 9   represented to Plaintiff, through its agent and members, Kenneth Tersini and Mark Tersini, that EPL
10   owned or had an exclusive worldwide license for the use of the Smartcard Technology for all
11   commercial purposes including manufacturing and marketing. Plaintiff, through its agents Kenneth
12   Tersini and Mark Tersini, heard and believed these representations and relied on these
13   representations in making the decision to lend and actually lending money to Defendants, as is
14   evidenced by the Note.
15          30.     ANTHONY THOMAS made the representation in ¶29 to induce Plaintiff to make
16   loans to him and to EPL in the ultimate amount of Six Million One Hundred Ten Thousand Dollars
17   ($6,110,000.00) to support the development and marketing of Smartcard Technology. This
18   representation was false, and ANTHONY THOMAS knew said representation to be false at the time
19   it was made. The true facts were, on information and belief, that EPL did not own or have credible or
20   legal claim to the Smartcard Technology.
21          31.     On or about June 1, 2007, in San Jose, California, ANTHONY THOMAS orally
22   represented to Plaintiff, through its agents and members, Kenneth Tersini and Mark Tersini, that
23   ANTHONY THOMAS and ELP were seeking funding to develop and market the Smartcard
24   Technology and that all loans received from Plaintiff would be used solely and exclusively for such
25   purpose. This representation was made to induce Plaintiff to make loans to him and to EPL in the
26   ultimate amount of Six Million One Hundred Ten Thousand Dollars ($6,110,000.00) to support the
27   development and marketing of Smartcard Technology. Plaintiff, through its agents Kenneth Tersini
28   and Mark Tersini, heard and believed these representations and relied on these representations in

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 1   making the decision to lend and actually lending money to Defendants, as is evidenced by the Note.
 2          32.     ANTHONY THOMAS’s representations in ¶31 regarding the use of funds were false.
 3   The falsity of these statements was known to ANTHONY THOMAS at the time they were made.
 4   The true facts were that ANTHONY THOMAS intended to and did use, or cause ELP to use, the
 5   sums evidenced by the Note and secured by the Security Agreement for purposes unrelated to
 6   production and marketing of Smartcard Technology. Plaintiff is informed and believes, and thereon
 7   alleges that ANTHONY THOMAS used the loan proceeds made pursuant to the Note for purposes
 8   other than the development and marketing of the Smartcard Technology, and used some or all of the
 9   proceeds for his personal expenses.
10          33.     On or about May 1, 2007, in San Jose, California, ANTHONY THOMAS orally
11   represented to Plaintiff, through its agent and members, Kenneth Tersini and Mark Tersini, that the
12   Emerald described in ¶14 was extremely valuable and worth in excess of Five Hundred Million
13   Dollars ($500,000,000.00). This representation was made to induce Plaintiff to make loans to him
14   and to EPL in the ultimate amount of Six Million One Hundred Ten Thousand Dollars
15   ($6,110,000.00) to support the development and marketing of Smartcard Technology. Plaintiff,
16   through its agents Kenneth Tersini and Mark Tersini, heard and believed these representations and
17   relied on these representations in making the decision to lend and actually lending money to
18   Defendants, as is evidenced by the Note.
19          34.     ANTHONY THOMAS’s representations in ¶33 were false, and ANTHONY
20   THOMAS knew said representation to be false at the time it was made. The true facts were the
21   Emerald was worth far less than Five Hundred Million Dollars ($500,000,000.00), its value was not
22   sufficient to secure Plaintiff’s loan, and ANTHONY THOMAS knew his appraisal was false.
23          35.     Plaintiff did not know of the fraud perpetrated by ANTHONY THOMAS when
24   Plaintiff made the demand for payment under the Note on October 31, 2008.
25          36.     When ANTHONY THOMAS made the aforesaid representations in ¶¶29, 31 and 33
26   and 34, he knew them to be false and made them with the intention to induce Plaintiff to act in
27   reliance on these representations and to make the loans, as alleged above.
28          37.     Plaintiff, at the time the representations in ¶¶29, 31 and 33 were made by ANTHONY

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 1   THOMAS and at the time Plaintiff took the actions herein alleged, was ignorant of the falsity of
 2   ANTHONY THOMAS's representations and believed them to be true. In reliance on these
 3   representations, Plaintiff was induced to and did make a series of funding totaling Six Million One
 4   Hundred Ten Thousand Dollars ($6,110,000.00) to ANTHONY THOMAS and ELP pursuant to
 5   Exhibits “A” and “B”. Had Plaintiff known the true facts, it would not have taken such action.
 6   Plaintiff's reliance on ANTHONY THOMAS's representations in ¶¶29, 31 and 33 was justified
 7   because Plaintiff had no cause to disbelieve him.
 8          38.     As a proximate result of the fraudulent statements of ANTHONY THOMAS in
 9   ¶¶29, 31 and 33, Plaintiff was induced to lend Six Million One Hundred Ten Thousand Dollars
10   ($6,110,000.00) to ANTHONY THOMAS and ELP. Plaintiff’s Claim pursuant to the settlement in
11   the Santa Clara Lawsuit, is therefore non-dischargeable under 11 U.S.C. §523(a)(2).
12          WHEREFORE, Plaintiff prays for judgment against Defendants, and each of them, as set
13   forth below.
14                                     THIRD CLAIM FOR RELIEF
15                              Nondischargeability – Fraud (Concealment)
16                                          [11 U.S.C. §523(a)(2)]
17          39.     Plaintiff realleges and incorporates herein by this reference each of the allegations
18   contained in paragraphs 1 – 38 above as though fully set forth hereagain in full.
19          40.     On or about May 1, 2007, in San Jose, California, ANTHONY THOMAS orally
20   represented to Plaintiff, through its agent and members, Kenneth Tersini and Mark Tersini, that EPL
21   owned or had an exclusive worldwide license for the use of the Smartcard Technology for all
22   commercial purposes including manufacturing and marketing in order to induce Plaintiff to make
23   loans in the ultimate amount of Six Million One Hundred Ten Thousand Dollars ($6,110,000.00) to
24   support the development and marketing of Smartcard Technology.
25          41.     ANTHONY THOMAS, at the time he made the representation to Plaintiff alleged in
26   ¶40, concealed the fact that EPL was, in fact not the owner of the Smartcard Technology and that
27   EPL and its members, as of May 1, 2007, were defendants in an on-going litigation then pending in
28   Federal Court in San Francisco, California, where it was alleged that EPL and/or its members stole

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 1   the Smartcard Technology and challenged the right of EPL to use or distribute the Smartcard
 2   Technology.
 3             42.   The true facts were, on information and belief, that EPL did not own or have credible
 4   or legal claim to the Smartcard Technology.
 5             43.   ANTHONY THOMAS failed to disclose and suppressed the fact alleged in ¶¶40 - 42.
 6             44.   ANTHONY THOMAS’s concealment of the existence of the pending legal action
 7   and suppressions of information herein alleged was undertaken with the intent to induce Plaintiff to
 8   loan $6,100,000 to ANTHONY THOMAS and EPL.
 9             45.   Plaintiff, at the time these failures to disclose and suppression of material facts
10   alleged in ¶¶40 – 42 occurred and at the time Plaintiff took the actions herein alleged, was ignorant
11   of the true facts and the existence of the facts that ANTHONY THOMAS suppressed and failed to
12   disclose. If Plaintiff had been aware of the true facts and existence of the facts suppressed and
13   concealed, Plaintiff would not have made a loan in the amount of Six Million One Hundred Ten
14   Thousand Dollars ($6,110,000.00) or any lesser amount to ANTHONY THOMAS and EPL. As a
15   result of the Plaintiffs reliance on ANTHONY THOMAS’s concealments, Plaintiff was damaged in
16   the sum of Six Million One Hundred Ten Thousand Dollars ($6,110,000.00).
17             46.   The aforementioned conduct of ANTHONY THOMAS constitutes a concealment of
18   material facts known to him that he had a duty to disclose to Plaintiff in connection with the
19   transactions alleged herein. ANTHONY THOMAS’s concealment of these material facts was done
20   with the express intention of depriving Plaintiff of property or legal rights or otherwise causing
21   injury.
22             WHEREFORE, Plaintiff prays for judgment against Defendants, and each of them, as
23   follows:
24             1.    For judgment against Defendants in the amount of Four Million Five Hundred
25   Thousand Dollars ($4,500,000.00), together with interest thereon at the rate of ten percent (10%) per
26   annum, plus attorneys’ fees as allowed under the Note in an amount to be proven at trial
27   (“Judgment”);
28             2.    A declaration that such Judgment is non-dischargeable pursuant to 11 U.S.C.

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 1   §523(a)(2);
 2          3.         Costs and attorneys’ fees as allowed by law; and,
 3          4.         Such further relief as the Court feels is fair and equitable under the circumstances
 4   alleged herein.
 5          Dated: May 31, 2014
                                                             /s/ Wayne A. Silver
 6                                                           Wayne A. Silver, attorney for Plaintiff
 7                                                           KENMARK VENTURES, LLC

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                        EXHIBIT “C”

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